           Case 22-60020 Document 8 Filed in TXSB on 04/18/22 Page 1 of 2
                                                                                       United States Bankruptcy Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                  April 18, 2022
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 In re:                                             )
                                                    )
 INFOW, LLC                                         )                  60020
                                                         Case No. 22 - _________
                                                    )
               Debtor.                              )    Chapter 11 (Subchapter V)
 In re:                                             )
                                                    )
 IWHEALTH, LLC                                      )                   60021
                                                         Case No. 22 - _________
                                                    )
               Debtor.                              )    Chapter 11 (Subchapter V)
 In re:                                             )
                                                    )
 PRISON PLANET TV, LLC                              )                   60022
                                                         Case No. 22 - _________
                                                    )
               Debtor.                              )    Chapter 11 (Subchapter V)

                            ORDER FOR JOINT ADMINISTRATION

       On the motion for joint administration of these cases under Bankruptcy Rule 1015, the
Court orders that the above referenced cases are jointly administered. Additionally, the following
checked items are ordered:
      X
1. ________ One disclosure statement and plan of reorganization may be filed for all cases by
            any plan proponent.
      X
2. ________ Parties may request joint hearings on matters pending in any of the jointly
            administered cases.
      X
3. ________ A docket entry, substantially similar to the following, shall be entered on the docket
            for each of the Debtors, other than InfoW, LLC:

          An order has been entered in this case consolidating this case with the case of InfoW, LLC,
                         60020
          Case No. 22-____________for        procedural purposes only and providing for its joint
          administration in accordance with the terms thereof. The docket in Case No. 22-
           60020
          ____________    should be consulted for all matters affecting the above listed case. All
          further pleadings and other papers shall be filed in, and all further docket entries shall be
                                 60020
          made in, Case No. 22-____________.
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      X
4. ________ The official caption of the Jointly Administered Chapter 11 Cases shall read as
            follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

    In re:                                               )
                                                         )
    INFOW, LLC, et al.,                                  )                  60020
                                                              Case No. 22 - _________
                                                         )
               Debtors.1                                 )    Chapter 11 (Subchapter V)
                                                         )
                                                         )    Jointly Administered


1
 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.


      X
5. ________ The Debtors shall file monthly operating reports by consolidating the information
            required for each debtor into one report without being required to break out
            information on a debtor-by-debtor basis unless otherwise ordered by the Court;
            provided that the Debtors shall include schedules of disbursements on an individual
            debtor basis in such consolidated operating reports.

Only the lines checked are ordered.


        August
             18, 02, 2019
Dated: ____________________________
       April     2022                                ___________________________________
                                                     United States Bankruptcy Judge




                                                        2
